           Case 2:15-cv-00799-KJM-DB Document 350-1 Filed 01/31/24 Page 1 of 45


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 3   Stephanie Tilden (SBN 341486)
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     155 Grand Avenue, Suite 900
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     Lindsay Nako (SBN 239090)
15   lnako@impactfund.org
     THE IMPACT FUND
16   2080 Addison Street, Suite 5
     Berkeley, CA 94704
17   Tel: (510) 845-3473 ǀ Fax: (510) 845-3654
18   Attorneys for Plaintiffs and Relators and the Certified Classes
19                                   UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF CALIFORNIA
20                                       SACRAMENTO DIVISION
21   UNITED STATES OF AMERICA, ex rel.                     Case No.: 2:15-CV-00799-KJM-DB
     DENIKA TERRY, ROY HUSKEY III, and
22   TAMERA LIVINGSTON, and each of them for               CLASS ACTION
     themselves individually, and for all other persons
23   similarly situated and on behalf of the UNITED        DECLARATION OF ANNE BELLOWS IN
     STATES OF AMERICA                                     OPPOSITION TO THE SELECTED
24                                                         DEFENDANTS’ EX PARTE APPLICATION
             Plaintiffs/Relators,                          FOR 90-DAY CONTINUANCE OF
25                                                         PRETRIAL DEADLINES
     vs.
26                                       Date: None
     WASATCH ADVANTAGE GROUP, LLC,
27   WASATCH PROPERTY MANAGEMENT, INC., Before: Hon. Kimberly J. Mueller
     WASATCH POOL HOLDINGS, LLC,
28   CHESAPEAKE APARTMENT HOLDINGS, LLC, Trial Date: None Set
       Case 2:15-cv-00799-KJM-DB Document 350-1 Filed 01/31/24 Page 2 of 45


 1   LOGAN PARK APARTMENTS, LLC, LOGAN
     PARK APARTMENTS, LP, ASPEN PARK
 2   HOLDINGS, LLC, BELLWOOD JERRON
     HOLDINGS, LLC, BELLWOOD JERRON
 3   APARTMENTS, LP, BENT TREE
     APARTMENTS, LLC, CALIFORNIA PLACE
 4   APARTMENTS, LLC, CAMELOT LAKES
     HOLDINGS, LLC, CANYON CLUB HOLDINGS,
 5   LLC, COURTYARD AT CENTRAL PARK
     APARTMENTS, LLC, CREEKSIDE HOLDINGS,
 6   LTD, HAYWARD SENIOR APARTMENTS, LP,
     HERITAGE PARK APARTMENTS, LP, OAK
 7   VALLEY APARTMENTS, LLC, OAK VALLEY
     HOLDINGS, LP, PEPPERTREE APARTMENT
 8   HOLDINGS, LP, PIEDMONT APARTMENTS,
     LP, POINT NATOMAS APARTMENTS, LLC,
 9   POINT NATOMAS APARTMENTS, LP, RIVER
     OAKS HOLDINGS, LLC, SHADOW WAY
10   APARTMENTS, LP, SPRING VILLA
     APARTMENTS, LP, SUN VALLEY HOLDINGS,
11   LTD, VILLAGE GROVE APARTMENTS, LP,
     WASATCH QUAIL RUN GP, LLC, WASATCH
12   PREMIER PROPERTIES, LLC, WASATCH
     POOL HOLDINGS III, LLC,
13   and DOES 1-4,

14        Defendants.

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        Case 2:15-cv-00799-KJM-DB Document 350-1 Filed 01/31/24 Page 3 of 45


 1   I, Anne P. Bellows, declare as follows:

 2          1.       I am a member in good standing of the Bar of the State of California and an attorney

 3   at the law firm Goldstein, Borgen, Dardarian & Ho in Oakland, California. I and my firm are

 4   counsel for Plaintiffs and Relators and have been appointed Class Counsel in this action along with

 5   the Law Offices of Andrew Wolff, PC, Centro Legal de la Raza, and the Impact Fund.

 6          2.       Goldstein, Borgen, Dardarian & Ho is lead counsel for Plaintiffs and I have primary

 7   responsibility for meeting and conferring with counsel for Defendants.

 8          3.       In the spring and summer of 2021, the Parties created and stipulated to a bifurcation

 9   of issues that structured the litigation to first resolve the question of whether Wasatch Property
10   Management’s practices gave rise to liability on the class claims and under the False Claims Act
11   (“FCA”) (identified as Phase 1), and then conduct discovery and litigate the question of who is liable
12   for the class claims and whether any additional Defendants are liable under the FCA (identified as
13   Phase 2). Based on my discussions with Counsel for Defendants Ryan Matthews of Lewis Brisbois
14   Bisgaard & Smith LLP, it is my understanding that one of Defendants’ purposes in proposing this
15   bifurcation was to defer issues giving rise to potential conflicts and maintain unified representation
16   on the substantive merits issues.
17          4.       In July 2023, while Plaintiffs and Defendants were negotiating a fact stipulation about
18   tenant Housing Assistance Payment Contracts, I received a redlined Word document containing edits
19   from Orlando Cabrera, a partner at Arnall Golden Gregory LLP. I recognized Mr. Cabrera’s name
20   because he had appeared at the March 15, 2023 settlement conference and was identified on the
21   docket as “Consulting Counsel for Wasatch Property Management.” ECF No. 293.
22          5.       Attached hereto as Exhibit 1 is a true and correct copy of an email that I received
23   from Mr. Matthews on the morning of December 8, 2023, with the subject line “Terry v. Wasatch –
24   Update.” I saw Mr. Matthews later that morning at the hearing on Plaintiffs’ Motion for Partial
25   Summary Judgment on remedies. Outside the courtroom, he informed me that the new counsel was
26   Mr. Cabrera’s firm, Arnall Golden Gregory.
27          6.       After the December 8 hearing, I offered to meet and confer with Mr. Matthews and
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                 BELLOWS DECL. IN OPP. TO SELECTED DEFS’ EX PARTE APP. TO CONTINUE PRETRIAL DEADLINES
                                            CASE NO. 2:15-CV-00799 KJM-DB
        Case 2:15-cv-00799-KJM-DB Document 350-1 Filed 01/31/24 Page 4 of 45


 1   the new counsel regarding the pretrial schedule. Attached hereto as Exhibit 2 is a true and correct

 2   copy of an email chain between Mr. Matthews and myself, starting on December 11, 2023, and

 3   ending on December 13, 2023, with the subject line “RE: Wasatch – pre-trial work and schedule,” in

 4   which I requested or offered to meet and confer with the new counsel three times over the course of

 5   those three days.

 6          7.        On December 14, 2023, Mr. Matthews and I met and conferred about the pretrial

 7   schedule. No new counsel attended. On our call, he informed me that the new counsel may

 8   associate in, rather than substituting in. He also agreed that the upcoming False Claims Act trial

 9   would focus on the conduct of Wasatch Property Management. Attached hereto as Exhibit 3 is a
10   true and correct copy of the email summarizing our agreements as to a pretrial schedule that I sent to
11   Mr. Matthews on December 14, 2023, after our meet and confer, with the subject line “Pre-trial
12   schedule.”
13          8.        On December 18, 2023, I sent Mr. Matthews a draft stipulation to set the Final Pretrial
14   Conference on February 16, 2024. Attached as Exhibit 4 is a true and correct copy of my December
15   18 email to Mr. Matthews, attaching the draft stipulation, with the subject line “Stip re: Pretrial
16   Conference Date.” On December 19, 2023, Mr. Matthews confirmed that Lewis Brisbois would be
17   serving as lead counsel for all Defendants in the upcoming Phase 1 trial. Based on his
18   representations, the Parties prepared and filed the Stipulation and Proposed Order Setting Pretrial
19   Conference that contained that information. ECF No. 335.
20          9.        After filing the stipulation, I continued to try to meet and confer with Mr. Matthews.
21   Attached hereto as Exhibit 5 is a true and correct copy of an email chain between Mr. Matthews and
22   myself, starting on December 26, 2023, and ending on January 17, 2024, with the subject line “RE:
23   [EXT] Re: Terry v. Wasatch.”
24          10.       Attached hereto as Exhibit 6 is a true and correct copy of an email that I sent to Mr.
25   Matthews on January 23, 2024, with the subject line “Draft pre-trial statement.”
26          11.       Attached hereto as Exhibit 7 is a true and correct copy of an email chain between
27   Richard T. Collins of Arnall Golden Gregory LLP, Mr. Matthews, and myself starting on January 24,
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                  BELLOWS DECL. IN OPP. TO SELECTED DEFS’ EX PARTE APP. TO CONTINUE PRETRIAL DEADLINES
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 1   2024, and ending on January 29, 2024, with the subject line “RE: Terry v. Wasatch – Request for

 2   Call.” Plaintiffs’ first notification that new counsel, Arnall Golden Gregory, would be substituting in

 3   and taking over representation of multiple Defendants is contained in Mr. Matthews’s email dated

 4   January 24, 2024. The Parties arranged for a meet and confer on January 26, 2024. My summary of

 5   our January 26 meet and confer is contained in my email dated January 26, 2024. Mr. Collins’s

 6   response is contained in his email dated January 29, 2024.

 7          12.     I attended the January 26 meet and confer with Lindsay Nako of the Impact Fund, Mr.

 8   Matthews, and Richard T. Collins and others from Arnall Golden Gregory. At that time, Mr. Collins

 9   informed me that his firm planned to represent all Defendants except for Wasatch Property
10   Management, which would continue to be represented by Lewis Brisbois, and would appear at trial.
11   Mr. Collins requested a 90-day extension to the Final Pretrial Conference and related filing
12   deadlines. At no point did he or any other attorney mention that they believed there was a conflict of
13   interest between their clients and Wasatch Property Management.
14          13.     During the January 26 meet and confer, Mr. Matthews confirmed that Wasatch
15   Property Management was still planning to provide a response to Plaintiffs’ proposed fact stipulation
16   and exchange lists of witnesses, exhibits, and deposition designations early the week of January 29.
17   Mr. Matthews indicated that he had been working on Defendants’ witness, exhibit, and deposition
18   designation lists for months. Mr. Matthews and I agreed that it would still be productive for their
19   parties to behave as if their Joint Pretrial Statement would be filed on February 2.
20          14.     Attached hereto as Exhibit 8 is a true and correct copy of an email that I sent to Mr.
21   Matthews, Mr. Collins, and their colleagues on January 29, 2024, with the subject line “Plaintiffs’
22   preliminary evidence lists.”
23          15.     Attached hereto as Exhibit 9 is a true and correct copy of the Notice of Electronic
24   Filing of Docket No. 349 that I received on January 29, 2024.
25          16.     Attached hereto as Exhibit 10 is a true and correct copy of an email that I received
26   from Mr. Matthews on January 30, 2024, with the subject line “Terry v. Wasatch – Preliminary
27   Exhibit/Witness Lists.”
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 2          I declare under penalty of perjury under the laws of the State of California and of the United

 3   States that the foregoing is true and correct, and that this Declaration was executed this 31st day of

 4   January, 2024, in Oakland, California.

 5                                                          /s/ Anne P. Bellows
                                                            Anne P. Bellows
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14                        EXHIBIT 1
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           BELLOWS DECL. IN OPP. TO OWNER DEFS’ EX PARTE APP. TO CONTINUE PRETRIAL DEADLINES
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Lindsay Nako

From:                     Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>
Sent:                     Friday, December 8, 2023 7:28 AM
To:                       Anne Bellows; Lindsay Nako
Cc:                       Jesse Newmark; Jahmy Graham; Salazar, Joe
Subject:                  Terry v. Wasatch - Update


All,

In advance of the hearing on Plaintiffs’ MSA this morning, I wanted to give you all a quick heads up. To the extent this
turns into a de facto trial setting conference, many of the single‐purpose entity Defendants are planning to file Answers
to Plaintiffs’ Sixth Amended Complaint under separate counsel, who are likely to substitute in next week. I am not in a
great position to speak for those entities as a result, and my intention then is to ask for a hearing in the near future to
allow the new counsel to appear and speak for their clients. I anticipate requesting that hearing in early January to give
them a few weeks to get up to speed and evaluate their availability for trial, but I think it would be inappropriate for that
hearing to be a Final Pretrial Conference. I do not anticipate this causing significant delay beyond what we’ve already
contemplated in getting the case set for trial, but as noted, I can’t speak for those attorneys.

Thank you,

Ryan Matthews
                                                 Ryan Matthews
                                                 Attorney
                                                 Ryan.Matthews@lewisbrisbois.com

                                                 T: 916.646.8213 F: 916.564.5444

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14                        EXHIBIT 2
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           BELLOWS DECL. IN OPP. TO OWNER DEFS’ EX PARTE APP. TO CONTINUE PRETRIAL DEADLINES
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Lindsay Nako

From:                       Anne Bellows <abellows@gbdhlegal.com>
Sent:                       Wednesday, December 13, 2023 4:41 PM
To:                         Matthews, Ryan
Cc:                         Lindsay Nako; jahmy.graham@nelsonmullins.com
Subject:                    RE: Wasatch - pre-trial work and schedule


Hi Ryan, Lindsay & Jahmy. I’ve added zoom information to the meet and confer invite for tomorrow morning.

Ryan, please feel free to forward the invite to Joe or to the new counsel. Even if they can’t join, Lindsay and I will look
forward to touching base with you tomorrow at 9:30am.

Anne P. Bellows
(pronouns: she/her)
Goldstein, Borgen, Dardarian & Ho
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(510) 287‐4344
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From: Anne Bellows
Sent: Wednesday, December 13, 2023 11:12 AM
To: Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>; Salazar, Joe <Joe.Salazar@lewisbrisbois.com>
Cc: Laura Ho <lho@gbdhlegal.com>; Lindsay Nako <lnako@impactfund.org>; Jesse Newmark
<jessenewmark@centrolegal.org>; jahmy.graham@nelsonmullins.com
Subject: RE: Wasatch ‐ pre‐trial work and schedule

That works great. 9:30am?

Anne P. Bellows
(pronouns: she/her)
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From: Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>
Sent: Wednesday, December 13, 2023 11:10 AM
To: Anne Bellows <abellows@gbdhlegal.com>; Salazar, Joe <Joe.Salazar@lewisbrisbois.com>
Cc: Laura Ho <lho@gbdhlegal.com>; Lindsay Nako <lnako@impactfund.org>; Jesse Newmark
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                                                                                                                               Case 2:15-cv-00799-KJM-DB Document 350-1 Filed 01/31/24 Page 11 of 45
<jessenewmark@centrolegal.org>; jahmy.graham@nelsonmullins.com
Subject: RE: Wasatch ‐ pre‐trial work and schedule

I think tomorrow would actually be better. How’s early‐mid morning for you?

                                                                                                                                                                                                                                                                                       Ryan Matthews
                                                                                                                                                                                                                                                                                       Attorney
                                                                                                                                                                                                                                                                                       Ryan.Matthews@lewisbrisbois.com

                                                                                                                                                                                                                                                                                       T: 916.646.8213 F: 916.564.5444

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this email and any attachment from your computer and any of your electronic devices where the message is stored.
From: Anne Bellows <abellows@gbdhlegal.com>
Sent: Wednesday, December 13, 2023 11:07 AM
To: Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>; Salazar, Joe <Joe.Salazar@lewisbrisbois.com>
Cc: Laura Ho <lho@gbdhlegal.com>; Lindsay Nako <lnako@impactfund.org>; Jesse Newmark
<jessenewmark@centrolegal.org>; jahmy.graham@nelsonmullins.com
Subject: [EXT] RE: Wasatch ‐ pre‐trial work and schedule
Hi Ryan, I got your out-of-office message re: today and tomorrow. Do you have availability on Friday for a call? Thanks,Anne Anne P. Bellows(pronouns: she/her)Goldstein, Borgen, Dardarian & Ho155 Grand Avenue, Suite 900Oakland, CA 94612(510) 287-4344www.gbdhlegal.com Please N




Hi Ryan,



I got your out-of-office message re: today and tomorrow. Do you have availability on Friday for a call?



Thanks,

Anne



Anne P. Bellows

(pronouns: she/her)

Goldstein, Borgen, Dardarian & Ho


                                                                                                                                                                                                                                                                                                       2
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From: Anne Bellows
Sent: Tuesday, December 12, 2023 3:10 PM
To: Ryan.Matthews@lewisbrisbois.com; Salazar, Joe <Joe.Salazar@lewisbrisbois.com>
Cc: Laura Ho <lho@gbdhlegal.com>; Lindsay Nako <lnako@impactfund.org>; jessenewmark
<jessenewmark@centrolegal.org>; jahmy.graham@nelsonmullins.com
Subject: RE: Wasatch - pre-trial work and schedule



Hi Ryan,



Following up on this. Will additional counsel be joining the case this week? Can we set a meet and confer call
with them?



Anne P. Bellows

(pronouns: she/her)

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                 Case 2:15-cv-00799-KJM-DB Document 350-1 Filed 01/31/24 Page 13 of 45
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From: Anne Bellows
Sent: Monday, December 11, 2023 10:14 AM
To: Ryan.Matthews@lewisbrisbois.com; Salazar, Joe <Joe.Salazar@lewisbrisbois.com>
Cc: Laura Ho <lho@gbdhlegal.com>; Lindsay Nako <lnako@impactfund.org>; jessenewmark
<jessenewmark@centrolegal.org>; jahmy.graham@nelsonmullins.com
Subject: Wasatch - pre-trial work and schedule



Hi Ryan,



Nice to see you on Friday. Following up on our conversation and the Court’s scheduling order, can we set a
meet and confer call as soon as possible, including the new counsel that you indicated would be substituting in
for some of the entities?



As you know, the January 26 pretrial conference is fast approaching, and the Court set a January 12 deadline for
our pre-trial statement. That is just a month away. In light of this schedule, I strongly suggest we set the meet
and confer for this week. Wednesday and Thursday are both wide open for me.



Thanks,

Anne




Anne P. Bellows

(pronouns: she/her)

Goldstein, Borgen, Dardarian & Ho

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14                        EXHIBIT 3
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Lindsay Nako

From:                       Anne Bellows <abellows@gbdhlegal.com>
Sent:                       Thursday, December 14, 2023 10:19 AM
To:                         Ryan.Matthews@lewisbrisbois.com
Cc:                         Lindsay Nako; jahmy.graham@nelsonmullins.com
Subject:                    Pre-trial schedule


Hi Ryan,

Thanks for the call this morning. We agreed:

     1) To request the Court to set the pre‐trial conference on Feb. 16, with the Joint Pre‐Trial Statement due on Feb. 2
        (following her preference for the filing to take place two weeks before the conference). Plaintiffs will provide a
        stipulation to this effect.

     2) To set the following deadlines to complete our pre‐trial work:

                a. Dec. 22: Defendants provide their response to Plaintiffs’ proposed fact stipulations and complete the
                   HAP Contract stipulation and the outstanding RFA responses

                b. Jan. 5: The Parties exchange their preliminary witness lists, exhibit lists, and discovery and deposition
                   designations

                c. Jan. 19: The Plaintiffs provide a draft of the pre‐trial statement

                d. Jan. 26: The Parties exchange final witness lists, exhibit lists, and discovery and deposition
                   designations. This date is a week before filing to enable the parties to evaluate potential motions in
                   limine and meet and confer regarding those issues.

                e. Plaintiffs pointed out that the Dec. 22 date is critical to enabling the parties to assess what factual
                   disputes remain. If Defendants believe adjustments to the other dates are appropriate, let us know.

     3) To file a stipulation for supplemental class notice to additional class members early next week. Plaintiffs will
        provide a draft stipulation and notice by Monday.

Thanks,
Anne


Anne P. Bellows
(pronouns: she/her)
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Oakland, CA 94612
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14                        EXHIBIT 4
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                                     CASE NO. 2:15-CV-00799 KJM-DB
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Lindsay Nako

From:                       Anne Bellows <abellows@gbdhlegal.com>
Sent:                       Monday, December 18, 2023 2:10 PM
To:                         Ryan.Matthews@lewisbrisbois.com
Cc:                         Lindsay Nako
Subject:                    Stip re: Pretrial Conference Date
Attachments:                Stip re Pretrial Conference Date.DOCX


Hi Ryan,

Please see the attached draft stipulation to set the pretrial conference on February 16, the later of the two dates offered
by the Court, and the one we agreed to in our meet and confer call last week.

Given that the Court heard that additional counsel may be joining the case, we think it would be best for the additional
counsel to make their appearance ASAP and sign this stip. We’re happy to get on the phone with them if that would be
helpful.

I’ve left a few things to be filled in by Defendants.

I’d like to get this on file as soon as possible so we can know our pretrial deadlines. Would appreciate your help in
getting this done.

Feel free to call if you want to discuss.

Anne

Anne P. Bellows
(pronouns: she/her)
Goldstein, Borgen, Dardarian & Ho
155 Grand Avenue, Suite 900
Oakland, CA 94612
(510) 287‐4344
www.gbdhlegal.com

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14                        EXHIBIT 5
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           BELLOWS DECL. IN OPP. TO OWNER DEFS’ EX PARTE APP. TO CONTINUE PRETRIAL DEADLINES
                                     CASE NO. 2:15-CV-00799 KJM-DB
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Lindsay Nako

From:                       Anne Bellows <abellows@gbdhlegal.com>
Sent:                       Wednesday, January 17, 2024 1:14 PM
To:                         Crespo, Alicia; Matthews, Ryan
Cc:                         Lindsay Nako; Salazar, Joe
Subject:                    RE: [EXT] Re: Terry v. Wasatch


Hi Ryan, this is a friendly reminder that we’re still looking for an update and that time is growing short for meet and
confer re: the pre‐trial filings. I called at 1pm (our standing weekly meet & confer time) but was unable to reach you.

Looking forward to hopefully hearing from you soon.

Anne P. Bellows
(pronouns: she/her)
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From: Anne Bellows
Sent: Tuesday, January 16, 2024 10:46 AM
To: Crespo, Alicia <Alicia.Crespo@lewisbrisbois.com>; Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>
Cc: Lindsay Nako <lnako@impactfund.org>; Salazar, Joe <Joe.Salazar@lewisbrisbois.com>
Subject: RE: [EXT] Re: Terry v. Wasatch

Hi Ryan and Joe,

Please let us know ASAP when to expect Defendants’ response to the fact stipulations and the other outstanding items,
listed below for your convenience.

Thanks,
Anne

     1. Class notice stipulation – please authorize filing ASAP. Reattaching that email so you have it handy.

     2. Fact stipulation, HAP Contract stipulation, and RFA responses – waiting on Defendants’ responses, which were
        due on Dec. 22

     3. Confirmation of a date to exchange of witness list, exhibit list, & discovery designations




Anne P. Bellows
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device/media where the message is stored.


From: Crespo, Alicia <Alicia.Crespo@lewisbrisbois.com>
Sent: Wednesday, January 10, 2024 12:37 PM
To: Anne Bellows <abellows@gbdhlegal.com>; Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>
Cc: Lindsay Nako <lnako@impactfund.org>; Salazar, Joe <Joe.Salazar@lewisbrisbois.com>
Subject: RE: [EXT] Re: Terry v. Wasatch

Good Afternoon,

Both Joe and Ryan are unavailable. As for the update to the stipulations we are still waiting for our clients to finish their
review and provide their feedback or approval. When we do hear back from our clients we will follow up with your office.

Thank you,

Alicia Crespo
Legal Secretary
Sacramento
916.646.8272 or x9168272


From: Anne Bellows <abellows@gbdhlegal.com>
Sent: Wednesday, January 10, 2024 10:08 AM
To: Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>
Cc: Lindsay Nako <lnako@impactfund.org>; Salazar, Joe <Joe.Salazar@lewisbrisbois.com>; Crespo, Alicia
<Alicia.Crespo@lewisbrisbois.com>
Subject: RE: [EXT] Re: Terry v. Wasatch




Hi Ryan, we still have not received any update. Please confirm that you will be on the 1pm call. Thanks.

Anne P. Bellows
(pronouns: she/her)
Goldstein, Borgen, Dardarian & Ho
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(510) 287‐4344
www.gbdhlegal.com

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device/media where the message is stored.
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From: Anne Bellows
Sent: Monday, January 8, 2024 3:24 PM
To: Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>
Cc: Lindsay Nako <lnako@impactfund.org>; Salazar, Joe <Joe.Salazar@lewisbrisbois.com>; Crespo, Alicia
<Alicia.Crespo@lewisbrisbois.com>
Subject: RE: [EXT] Re: Terry v. Wasatch

Hi Ryan, I just left you a voicemail.

Do you have an update on the class notice stip?

Can you tell us when you will be ready to exchange preliminary lists of witnesses, exhibits, and discovery designations?

Anne P. Bellows
(pronouns: she/her)
Goldstein, Borgen, Dardarian & Ho
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www.gbdhlegal.com

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From: Anne Bellows <abellows@gbdhlegal.com>
Sent: Friday, January 5, 2024 7:55 AM
To: Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>
Cc: Lindsay Nako <lnako@impactfund.org>; Salazar, Joe <Joe.Salazar@lewisbrisbois.com>; Crespo, Alicia
<Alicia.Crespo@lewisbrisbois.com>
Subject: Re: [EXT] Re: Terry v. Wasatch

Thanks for the update Ryan. Let’s talk on Monday.

Sent from my mobile device. Please excuse brevity and typos.

From: Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>
Sent: Friday, January 5, 2024 7:51:55 AM
To: Anne Bellows <abellows@gbdhlegal.com>
Cc: Lindsay Nako <lnako@impactfund.org>; Salazar, Joe <Joe.Salazar@lewisbrisbois.com>; Crespo, Alicia
<Alicia.Crespo@lewisbrisbois.com>
Subject: RE: [EXT] Re: Terry v. Wasatch

Anne,

I know we’re falling behind schedule on our end here. A significant part of the difficulty has been the fact that Joe and I
have had daily depositions the last two weeks for a trial coming up on 1/16. We’ve moved ex parte to continue that trial,
and expect that Motion to be granted for a variety of compelling reasons. Beyond that, new counsel is still getting up to
speed, so I’ve been a bit hamstrung pulling the trigger on different decisions. Regardless, I recognize the urgency here,
and was relieved to see the Court grant our stipulation to push things to 2/16.

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For today’s purposes, I know we’d discussed a mutual exchange of both witnesses and exhibits. I’m not going to have
authority to make that exchange today, so I don’t want you to send your list to us in reliance on getting one back. I think
we should shoot for early next week for that item. For the rest, I’m actively in touch with the client and working to get
those things done.

I’m starting another all‐day deposition in ten minutes, so I’m tied up again today, but I’ll keep you posted with any
updates I have as I get them.

Thanks,

Ryan

                                                 Ryan Matthews
                                                 Attorney
                                                 Ryan.Matthews@lewisbrisbois.com

                                                 T: 916.646.8213 F: 916.564.5444


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delete this email and any attachment from your computer and any of your electronic devices where the message is stored.
From: Anne Bellows <abellows@gbdhlegal.com>
Sent: Thursday, January 4, 2024 12:44 PM
To: Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>
Cc: Lindsay Nako <lnako@impactfund.org>; Salazar, Joe <Joe.Salazar@lewisbrisbois.com>; Crespo, Alicia
<Alicia.Crespo@lewisbrisbois.com>
Subject: RE: [EXT] Re: Terry v. Wasatch




Ryan, we are still looking for an update. If a call is easier, please feel free to call my cell any time today.

Many things are overdue, but perhaps the easiest one for you to knock off the list is to authorize the class notice
stip. I’m attaching that email again.

Thanks,
Anne

Anne P. Bellows
(pronouns: she/her)
Goldstein, Borgen, Dardarian & Ho
155 Grand Avenue, Suite 900
Oakland, CA 94612
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From: Anne Bellows
Sent: Wednesday, January 3, 2024 12:27 PM
To: Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>
Cc: Lindsay Nako <lnako@impactfund.org>; Salazar, Joe <Joe.Salazar@lewisbrisbois.com>; Crespo, Alicia
<Alicia.Crespo@lewisbrisbois.com>
Subject: RE: [EXT] Re: Terry v. Wasatch

Ok Ryan. Please do provide the written updates. Thanks.

Anne P. Bellows
(pronouns: she/her)
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Oakland, CA 94612
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device/media where the message is stored.


From: Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>
Sent: Wednesday, January 3, 2024 12:21 PM
To: Anne Bellows <abellows@gbdhlegal.com>
Cc: Lindsay Nako <lnako@impactfund.org>; Salazar, Joe <Joe.Salazar@lewisbrisbois.com>; Crespo, Alicia
<Alicia.Crespo@lewisbrisbois.com>
Subject: Re: [EXT] Re: Terry v. Wasatch

Anne,

I’ve been stuck in depositions both yesterday and today. Let me get you a written update this afternoon as to the
below.

Thanks,

Ryan

Sent from my iPhone

                                                       Ryan Matthews
                                                       Attorney
                                                       Ryan.Matthews@lewisbrisbois.com

                                                       T: 916.646.8213 F: 916.564.5444

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delete this email and any attachment from your computer and any of your electronic devices where the message is stored.
          On Jan 3, 2024, at 10:28 AM, Anne Bellows <abellows@gbdhlegal.com> wrote:



          Hi Ryan,

          I am planning to call you at 1pm today for our weekly call, and I hope you’re able to make it considering
          the significant amount of work we have to do and the quickly approaching pretrial deadlines. Here’s an
          agenda:

               1. Class notice stipulation – please authorize filing ASAP. Reattaching that email so you have it
                  handy.

               2. Fact stipulation, HAP Contract stipulation, and RFA responses – waiting on Defendants’
                  responses, which were due on Dec. 22

               3. Confirm the parties’ exchange of witness list, exhibit list, & discovery designations this Friday
                  (note that this is a mutual exchange)

               4. Trial scheduling
                      1. My current estimate is three weeks
                      2. Please provide your office’s trial calendar so that we can begin to identify availability

               5. Additional upcoming deadlines agreed to by the Parties per my 12/14 email:
                     1. Jan. 19 – Plaintiffs provide their drat of the pre‐trial statement
                     2. Jan. 26 – The Parties exchange final witness lists, exhibit lists, and deposition
                          designations

          Thanks,
          Anne


          Anne P. Bellows
          (pronouns: she/her)
          Goldstein, Borgen, Dardarian & Ho
          155 Grand Avenue, Suite 900
          Oakland, CA 94612
          (510) 287‐4344
          www.gbdhlegal.com

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possible. In addition, please delete the erroneously received message from any device/media where the message is stored.


From: Anne Bellows
Sent: Wednesday, December 27, 2023 1:03 PM
To: Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>
Cc: Lindsay Nako <lnako@impactfund.org>; Salazar, Joe <Joe.Salazar@lewisbrisbois.com>; Crespo, Alicia
<Alicia.Crespo@lewisbrisbois.com>
Subject: RE: [EXT] Re: Terry v. Wasatch

Ok, thanks for letting me know Ryan. I am flexible this afternoon and this week except for 9‐10am
tomorrow morning.

Just to check – is the class notice stip one of the current action items you are referring to? We would
like to get that on file this week.

Thanks,
Anne

Anne P. Bellows
(pronouns: she/her)
Goldstein, Borgen, Dardarian & Ho
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Oakland, CA 94612
(510) 287‐4344
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From: Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>
Sent: Wednesday, December 27, 2023 1:01 PM
To: Anne Bellows <abellows@gbdhlegal.com>
Cc: Lindsay Nako <lnako@impactfund.org>; Salazar, Joe <Joe.Salazar@lewisbrisbois.com>; Crespo, Alicia
<Alicia.Crespo@lewisbrisbois.com>
Subject: Re: [EXT] Re: Terry v. Wasatch

Anne,

I’m sorry for the late notice, but I’ve got a personal issue I’m dealing with and I’m not sure when I’ll
clear, so I can’t get on the call at 1. I’ll update you letting you know either when I’m available, or what
my availability is tomorrow or Friday. In the meantime, I’m still waiting on client sign off for the current
action items.

‐Ryan

Sent from my iPhone

                                                       Ryan Matthews
<image001.png>                                         Attorney
                                                       Ryan.Matthews@lewisbrisbois.com
                                                                        7
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delete this email and any attachment from your computer and any of your electronic devices where the message is stored.
          On Dec 27, 2023, at 10:15 AM, Anne Bellows <abellows@gbdhlegal.com> wrote:


          Ryan, any update? Let’s still talk at 1pm regardless.

          Sent from my mobile device. Please excuse brevity and typos.

          From: Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>
          Sent: Tuesday, December 26, 2023 8:58:05 AM
          To: Anne Bellows <abellows@gbdhlegal.com>
          Cc: Lindsay Nako <lnako@impactfund.org>; Salazar, Joe
          <Joe.Salazar@lewisbrisbois.com>; Crespo, Alicia <Alicia.Crespo@lewisbrisbois.com>
          Subject: Terry v. Wasatch


          Anne,



          As you likely noticed, the items we discussed were not transmitted Friday. I wasn’t able
          to get full sign‐off during the second half of last week. I’m back at it today and will get
          you an update prior to our scheduled call tomorrow.




          Hope you had a good holiday,



          Ryan

                                                            Ryan Matthews
                                                            Attorney
          <Logo_e6253148‐26a1‐47a9‐b861‐
                                                            Ryan.Matthews@lewisbrisbois.com
          6ac0ff0bc3c4.png>
                                                            T: 916.646.8213 F: 916.564.5444


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<mime‐attachment>




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           BELLOWS DECL. IN OPP. TO OWNER DEFS’ EX PARTE APP. TO CONTINUE PRETRIAL DEADLINES
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Lindsay Nako

From:                       Anne Bellows <abellows@gbdhlegal.com>
Sent:                       Tuesday, January 23, 2024 10:05 AM
To:                         Ryan.Matthews@lewisbrisbois.com; Salazar, Joe
Cc:                         Laura Ho; Lindsay Nako; Jesse Newmark
Subject:                    Draft pre-trial statement
Attachments:                Wasatch_Joint Statement.docx


Hi Ryan and Joe,

I’m attaching Plaintiffs’ draft of our Joint Pre‐trial Statement (due Feb. 2), excluding the lists of witnesses, exhibits, and
discovery designations, which we had planned to exchange simultaneously with Defendants.

Please provide any edits or separate sections for Defendants by Monday January 29 so that we can meet and confer and
move towards finalizing.

For February 2, we will need all the attachments to be final by no later than 2pm in order to have our staff file the
document.

We are still looking for the outstanding items listed below. Please give me an update as soon as possible:

          Class notice stipulation – please authorize ASAP.
          Fact stipulation, HAP Contract stipulation, and RFA responses – waiting on Defendants’ responses, which you
           had agreed to provide by Dec. 22
          Confirmation of a date to exchange witness list, exhibit list and discovery designations

Thanks,
Anne


Anne P. Bellows
(pronouns: she/her)
Goldstein, Borgen, Dardarian & Ho
155 Grand Avenue, Suite 900
Oakland, CA 94612
(510) 287‐4344
www.gbdhlegal.com

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Lindsay Nako

From:             Collins, Richard T. <Rich.Collins@AGG.com>
Sent:             Monday, January 29, 2024 2:39 PM
To:               Anne Bellows
Cc:               Matthews, Ryan; Lindsay Nako; Eisenbrey, Damon D.; Cabrera, Orlando J.; Lord, Sara M.; Ferraro,
                  Justin F.; Salazar, Joe; Crespo, Alicia
Subject:          RE: Terry v. Wasatch - Request for Call



Dear Ms. Bellows,

Thank you for your email. Please allow me to clarify and comment on a few of the points below.

I stated that Arnall Golden Gregory (AGG) expected to be representing all of the Defendants except
for Wasatch Property Management. The reason for this distinction is that nine of the other
defendants, or “WAG Defendants” as you’ve dubbed them, underwent an ownership change at some
point prior to or during the litigation, and we have since confirmed that one of the nine defendants –
Hayward Senior Apartment, LP – is represented by Jahmy Stanford Graham of Nelson Mullins Riley
& Scarborough LLP. We are in the process of reaching out to the ownership of these remaining
entities to confirm representation.

We also don’t believe it’s accurate to say AGG “has been involved in this case since at least last
March.” My partner, Orlando Cabrera, is the nation’s leading legal expert on the housing laws and is
often consulted on matters. Mr. Cabrera was consulted on this matter as a housing resource for
purposes of what he understood was a confidential settlement conference. Consulting with a client for
purposes of a settlement conference is a far cry from being involved in a piece of litigation to the
extent and breadth of this one. As we understand it, this case has involved at least 27 depositions
and included more than 11 terabytes of documents, and over three million pages of discovery
documents that have been produced. Additionally, we understand tens of thousands of pages of
lease documents, HAP Contracts, additional services agreements, and other rental-related
documents from numerous properties have been produced and that numerous different data pulls
from WPM’s Yardi system are stored on a server maintained by a jointly retained independent Yardi
consultant, GelbGroup. Moreover, my other colleagues and I who were on the call have had no
involvement in this matter until our firm was recently retained, and we need time to review the record.

We also are unclear about how an extension of the trial deadlines would be prejudicial to Plaintiffs.
There is no trial date, and we are only asking for 90 days to review and digest the mountain of
evidence that has been generated in this case. We have no intention of delaying trial or the final
pretrial conference more than the 90 days we contend is necessary for our clients to be properly
represented at trial. Moreover, we cannot possibly proceed with trial until it is confirmed whether eight
of the owner defendants are even represented by counsel. Certainly, these facts are good cause for
the short continuance of a pretrial conference. We believe the Court will want these matters sorted
out before commencing or even scheduling trial.

As for stipulations, we will review all proposed stipulations in good faith, and we will not unreasonably
withhold our stipulation. However, we cannot stipulate to facts and excuse Plaintiffs’ burden of
proving those facts until we have a chance to review the record in this case.

We look forward to discussing these and any other issues during our next conference of counsel.
                                                         1
                Case 2:15-cv-00799-KJM-DB Document 350-1 Filed 01/31/24 Page 34 of 45

 Rich Collins
 Partner
 202.677.4917

 ARNALL GOLDEN GREGORY LLP
 2100 Pennsylvania Avenue NW
 Suite 350S | Washington, DC 20037
 rich.collins@agg.com | bio | linkedin | vcard | website

Member of the California Bar.
Application for admission to the District of Columbia Bar pending.
Supervised by a member of the District of Columbia Bar.


From: Anne Bellows <abellows@gbdhlegal.com>
Sent: Friday, January 26, 2024 7:04 PM
To: Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>; Lindsay Nako <lnako@impactfund.org>
Cc: Collins, Richard T. <Rich.Collins@AGG.com>; Eisenbrey, Damon D. <Damon.Eisenbrey@AGG.com>; Cabrera, Orlando
J. <orlando.cabrera@agg.com>; Lord, Sara M. <sara.lord@agg.com>; Ferraro, Justin F. <Justin.Ferraro@AGG.com>;
Salazar, Joe <Joe.Salazar@lewisbrisbois.com>; Crespo, Alicia <Alicia.Crespo@lewisbrisbois.com>
Subject: [EXTERNAL] RE: Terry v. Wasatch - Request for Call

Hi all,

Thanks for the call this morning.

Richard indicated that Arnall Golden Gregory LLP will be representing all of the Defendants except for Wasatch Property
Management. I’ll call that group “WAG Defendants” for short. WAG Defendants would like a 90 day extension to the
pre-trial filing and pre-trial conference, and they indicated they are prepared to file an ex parte motion seeking that
extension on Monday.

As we discussed, Plaintiffs do not agree to any extension of the pre-trial deadlines. The Court offered the February 16
pre-trial conference date during the Dec. 8 hearing after Ryan stated on the record that there was a possibility of new
counsel substituting in for some of the entities. See ECF No. 332. Plaintiffs made themselves available to meet and
confer about the schedule following the December 8 hearing, and we were informed that Lewis Brisbois would be lead
counsel for all Defendants. Additionally, Plaintiffs are aware that Arnall Golden Gregory LLP has been involved in this
case since at least last March, when Orlando Cabrera attended the court-ordered settlement conference and thereafter
provided edits on proposed stipulations. For these reasons, and more, we believe that any extension to the trial
deadlines is unwarranted and would be prejudicial to Plaintiffs, who have relied on the Court’s deadlines in good faith
and have already tolerated numerous delays occasioned by Defendants. Trial in this matter is long overdue, and the
existing deadlines are not a surprise to any of the Defendants.

By this email, I am confirming that Plaintiffs oppose any extension to the deadline and that the WAG Defendants can
expect us to file an opposition brief to the ex parte motion.

Plaintiffs and Wasatch Property Management (“WPM”) agreed to continue working towards finalizing the Joint Pre-Trial
Statement and attachments, as follows:
    • Plaintiffs and WPM will exchange witness lists, exhibits lists, and discovery and deposition designations on
         Monday Jan. 29.
    • WPM will provide its portions of the pre-trial statement, including any additional undisputed facts and any
         affirmative defenses that it intends to present at trial, on either Monday Jan. 29 or Tuesday Jan. 30.
    • WPM will respond to Plaintiffs’ proposed fact stipulations as soon as possible. (Ryan, can you confirm that you
         can do this by Monday Jan. 29?)

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                 Case 2:15-cv-00799-KJM-DB Document 350-1 Filed 01/31/24 Page 35 of 45
Ryan also indicated that he had no concerns regarding the class notice stipulation, and was simply waiting for sign-off
before moving forward.

WAG Defendants stated that they were unable to agree to the class notice stipulation because they were still getting up
to speed on the case. Plaintiffs pointed out that there were no disputes about the propriety of notice or the
membership of the class.

Last, we confirmed a meet and confer call to be attended by all next Wednesday at 1pm. I will circulate the calendar
invite and zoom link to this group.

Thanks,
Anne


Anne P. Bellows
(pronouns: she/her)
Goldstein, Borgen, Dardarian & Ho
155 Grand Avenue, Suite 900
Oakland, CA 94612
(510) 287-4344
www.gbdhlegal.com

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From: Anne Bellows
Sent: Thursday, January 25, 2024 9:16 AM
To: Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>; Lindsay Nako <lnako@impactfund.org>
Cc: Collins, Richard T. <Rich.Collins@AGG.com>; Eisenbrey, Damon D. <Damon.Eisenbrey@AGG.com>;
orlando.cabrera@agg.com; Lord, Sara M. <sara.lord@agg.com>; Ferraro, Justin F. <Justin.Ferraro@agg.com>; Salazar,
Joe <Joe.Salazar@lewisbrisbois.com>; Crespo, Alicia <Alicia.Crespo@lewisbrisbois.com>
Subject: RE: Terry v. Wasatch - Request for Call

Hi Ryan & all,

Please let us know what time works for a call tomorrow morning. If I don’t hear otherwise, I’ll send a zoom invite
for 10am pacific and count on seeing you all then.

Here is an agenda for the call:

     1. Introductions to new counsel & clarification re: who represents who
     2. Class notice stipulation—we are looking for approval by Defendants ASAP
     3. Fact stipulations
            a. We are still looking for Defendants’ response to the proposed fact stipulations Plaintiffs provided last
                 September
            b. Please see a handful of additional proposed fact stipulations, attached
            c. HAP Contract Stip
            d. RFA supplemental responses re: authenticity
     4. Joint Pre-trial Statement—confirm that Defendants will provide their initial portions by COB Monday (1/29) and
        commit to having fully final attachments (exhibit list, etc) by 2pm next Friday (2/2) for timely filing
                                                                                  3
                 Case 2:15-cv-00799-KJM-DB Document 350-1 Filed 01/31/24 Page 36 of 45
     5. Confirm date for exchanging witness lists, exhibit lists, discovery designations, and deposition designations—we
        suggest 1/29
     6. Confirm next meet and confer call

Richard, Damon, Orlando, Sara, and Justin—Lindsay and I are looking forward to meeting you.

Best,
Anne

Anne P. Bellows
(pronouns: she/her)
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From: Anne Bellows
Sent: Wednesday, January 24, 2024 1:12 PM
To: Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>; Lindsay Nako <lnako@impactfund.org>
Cc: Collins, Richard T. <Rich.Collins@AGG.com>; Eisenbrey, Damon D. <Damon.Eisenbrey@AGG.com>;
orlando.cabrera@agg.com; Lord, Sara M. <sara.lord@agg.com>; Ferraro, Justin F. <Justin.Ferraro@agg.com>; Salazar,
Joe <Joe.Salazar@lewisbrisbois.com>; Crespo, Alicia <Alicia.Crespo@lewisbrisbois.com>
Subject: RE: Terry v. Wasatch - Request for Call

Hi Ryan and all,

We are available at either 9am or 10am pacific time on Friday.

Thanks,
Anne

Anne P. Bellows
(pronouns: she/her)
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From: Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>
Sent: Wednesday, January 24, 2024 1:04 PM
To: Anne Bellows <abellows@gbdhlegal.com>; Lindsay Nako <lnako@impactfund.org>
Cc: Collins, Richard T. <Rich.Collins@AGG.com>; Eisenbrey, Damon D. <Damon.Eisenbrey@AGG.com>;
                                                                                  4
               Case 2:15-cv-00799-KJM-DB Document 350-1 Filed 01/31/24 Page 37 of 45
orlando.cabrera@agg.com; Lord, Sara M. <sara.lord@agg.com>; Ferraro, Justin F. <Justin.Ferraro@agg.com>; Salazar,
Joe <Joe.Salazar@lewisbrisbois.com>; Crespo, Alicia <Alicia.Crespo@lewisbrisbois.com>
Subject: Terry v. Wasatch - Request for Call

Anne and Lindsay,

I’m copying members of the group from Arnall Golden Gregory LLP, who will be taking over representation of a number
of the Defendants in this case. They anticipate substitutions being filed tomorrow. Are you available for a call with them
(and us) this Friday? Please advise as to your availability.

Thank you,

Ryan Matthews

                                                 Ryan Matthews
                                                 Attorney
                                                 Ryan.Matthews@lewisbrisbois.com

                                                 T: 916.646.8213 F: 916.564.5444

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14                        EXHIBIT 8
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           BELLOWS DECL. IN OPP. TO OWNER DEFS’ EX PARTE APP. TO CONTINUE PRETRIAL DEADLINES
                                     CASE NO. 2:15-CV-00799 KJM-DB
                 Case 2:15-cv-00799-KJM-DB Document 350-1 Filed 01/31/24 Page 39 of 45

Lindsay Nako

From:                       Anne Bellows <abellows@gbdhlegal.com>
Sent:                       Monday, January 29, 2024 5:34 PM
To:                         Ryan.Matthews@lewisbrisbois.com; Salazar, Joe; Collins, Richard T.; Eisenbrey, Damon D.; Lord, Sara
                            M.; orlando.cabrera@agg.com; Ferraro, Justin F.; Crespo, Alicia; jahmy.graham@nelsonmullins.com
Cc:                         Lindsay Nako; Laura Ho; Jesse Newmark
Subject:                    Plaintiffs' preliminary evidence lists
Attachments:                Plaintiffs Trial Exhibits.DOCX; Plaintiffs' Witness List.docx; Plaintiffs' Deposition Designations.docx;
                            Plaintiffs' Discovery Response Designations.docx


Counsel,

Please find a ached Plain ﬀs’ preliminary exhibit list, witness list, deposi on designa ons and discovery
designa ons. We do expect that there will be some changes this week as we move towards finalizing for the filing on
Friday, par cularly as we have not yet seen anything from Defendants. (For that reason, the numbering on the exhibit
list will not be stable and is likely to change prior to the final version.)

Ryan, we are looking for WPM’s evidence lists today, WPM’s por ons of the pretrial statement today or tomorrow, and
WPM’s response to Plain ﬀs’ proposed fact s pula ons today or tomorrow as well.

Thanks,
Anne

Anne P. Bellows
(pronouns: she/her)
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155 Grand Avenue, Suite 900
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(510) 287‐4344
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           BELLOWS DECL. IN OPP. TO OWNER DEFS’ EX PARTE APP. TO CONTINUE PRETRIAL DEADLINES
                                     CASE NO. 2:15-CV-00799 KJM-DB
             Case 2:15-cv-00799-KJM-DB Document 350-1 Filed 01/31/24 Page 41 of 45

Lindsay Nako

From:                caed_cmecf_helpdesk@caed.uscourts.gov
Sent:                Monday, January 29, 2024 5:40 PM
To:                  CourtMail@caed.uscourts.gov
Subject:             Activity in Case 2:15-cv-00799-KJM-DB Terry et al v. Wasatch Advantage Group, LLC et al Ex Parte
                     Application.


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The following transaction was entered by Collins, Richard on 1/29/2024 at 5:39 PM PST and filed on 1/29/2024
Case Name:          Terry et al v. Wasatch Advantage Group, LLC et al
Case Number:        2:15‐cv‐00799‐KJM‐DB
Filer:              Aspen Park Holdings, LLC
                    Bent Tree Apartments, LLC
                    California Place Apartments, LLC
                    Canyon Club Holdings, LLC
                    Chesapeake Apartment Holdings, LLC
                    Courtyard At Central Park Apartments, LLC
                    Creekside Holdings, LTD
                    River Oaks Holdings, LLC
                    Wasatch Advantage Group, LLC
                    Wasatch Pool Holdings III, LLC
                    Wasatch Pool Holdings, LLC,
                    Wasatch Premier Properties, LLC
Document Number: 349

Docket Text:
EX PARTE APPLICATION by Aspen Park Holdings, LLC, Bent Tree Apartments, LLC,
California Place Apartments, LLC, Canyon Club Holdings, LLC, Chesapeake Apartment
Holdings, LLC, Courtyard At Central Park Apartments, LLC, Creekside Holdings, LTD, River
Oaks Holdings, LLC, Wasatch Advantage Group, LLC, Wasatch Pool Holdings III, LLC,
Wasatch Pool Holdings, LLC,, Wasatch Premier Properties, LLC for OWNER DEFENDANTS EX
PARTE APPLICATION FOR A BRIEF 90-DAY CONTINUANCE OF THE FINAL PRETRIAL
CONFERENCE AND ALL ASSOCIATED FILING DEADLINES. Attorney Collins, Richard Thomas

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          Case 2:15-cv-00799-KJM-DB Document 350-1 Filed 01/31/24 Page 42 of 45
added. (Attachments: # (1) Declaration of Richard Collins, # (2) Declaration of Ryan Matthews,
# (3) Proposed Order)(Collins, Richard)


2:15‐cv‐00799‐KJM‐DB Notice has been electronically mailed to:

Andrew Wolff        andrew@awolfflaw.com

Anne Bellows     abellows@gbdhlegal.com, dvaldez@gbdhlegal.com

Colleen M. Kennedy colleen.m.kennedy@usdoj.gov, caseview.ecf@usdoj.gov, kimberly.siegfried@usdoj.gov,
monica.lee@usdoj.gov, usacae.ecfsaccv@usdoj.gov

Jahmy Stanford Graham       jahmy.graham@nelsonmullins.com, carolyn.orphey@nelsonmullins.com

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Jocelyn D. Larkin     jlarkin@impactfund.org

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Laura L. Ho    lho@gbdhlegal.com, dvaldez@gbdhlegal.com, efile@gbdhlegal.com

Lindsay Nako     lnako@impactfund.org, achau@impactfund.org

Richard Thomas Collins      COLLINS_LAW@MSN.COM

Ryan James Matthews Ryan.Matthews@lewisbrisbois.com, alicia.crespo@lewisbrisbois.com,
R_Matthews1@u.pacific.edu

Stephanie Tilden      stilden@gbdhlegal.com

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The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1064943537 [Date=1/29/2024] [FileNumber=12863785‐
0] [78b44500456ac6702f9e66cc80b45cc58d7ebce61d251f628082329c41714e362e
ede66c559394892076ec307afdcf431a645ff2749fb109a6f7cbd0cb83f583]]
Document description:Declaration of Richard Collins
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1064943537 [Date=1/29/2024] [FileNumber=12863785‐
1] [18d3c417d9ff68b99ba5f6f3bd38027f02f910e944dcbbfffc29eec81cb5b426e5
0b9226be1d43430bcce9b608c6c867dbdc63c355892354f7eadf8726b38894]]
Document description:Declaration of Ryan Matthews
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1064943537 [Date=1/29/2024] [FileNumber=12863785‐
                                                            2
          Case 2:15-cv-00799-KJM-DB Document 350-1 Filed 01/31/24 Page 43 of 45
2] [7f0b56ce885f6910f8026df81743931ebc151bc03ad8fab6922153a781e471de27
128acaa1cf3561a7cba2772667e8a842160133905c3863062848679f4d0f7a]]
Document description:Proposed Order
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1064943537 [Date=1/29/2024] [FileNumber=12863785‐
3] [b782b29bfa12932ea7a0077e11331e06f35fb172f3ff046077adb55c5fd4f4dc90
d0347b9cdbb1e5adec9a16400855a626b7b8bf3835c6df59b8acdc1cb91a98]]




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     Case 2:15-cv-00799-KJM-DB Document 350-1 Filed 01/31/24 Page 44 of 45


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                                     CASE NO. 2:15-CV-00799 KJM-DB
               Case 2:15-cv-00799-KJM-DB Document 350-1 Filed 01/31/24 Page 45 of 45

Lindsay Nako

From:                     Matthews, Ryan <Ryan.Matthews@lewisbrisbois.com>
Sent:                     Tuesday, January 30, 2024 7:53 PM
To:                       Anne Bellows; Lindsay Nako
Cc:                       Salazar, Joe; Crespo, Alicia
Subject:                  Terry v. Wasatch - Preliminary Exhibit/Witness Lists
Attachments:              Terry v. Wasatch - WPM Proposed Exhibit List(135528581.1).docx; Terry v. Wasatch - WPM Draft
                          Witness List(135524573.1).docx


Anne and Lindsay,

Please see the attached. These are continually undergoing work and are by no means final. We reserve the right to add
additional exhibits and witnesses prior to Friday, and will send you revised versions to the extent necessary as they
become available. As you’ll see, the record cites aren’t finalized, but I believe this gives you enough information to know
what it is we’re referencing prior to us finaling them out. Beyond that, I want to be clear that these are only being
exchanged on behalf of WPM.

I’m adding significant revisions to the fact stipulation which I hope to discuss tomorrow at 1pm.

Thank you,

Ryan Matthews
                                                 Ryan Matthews
                                                 Attorney
                                                 Ryan.Matthews@lewisbrisbois.com

                                                 T: 916.646.8213 F: 916.564.5444

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